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                          EXHIBIT 3
12/26/21, 9:03 AM    Case 1:21-cv-10623-JGK Richard
                                              Document
                                                    L. Herzfeld44-3
                                                                P.C. MailFiled
                                                                         - Steven05/04/22       Page 2 of 2
                                                                                  Forkosh ; Blu Market



                                                                                Richard Herzfeld <rherzfeld@herzfeldlaw.com>



  Steven Forkosh ; Blu Market
  1 message

  Richard Herzfeld <rherzfeld@herzfeldlaw.com>                                            Tue, Jun 22, 2021 at 12:04 PM
  To: Lisa Marie <Lisa@espireads.com>, lisa@kvrma.co, pjkicki@gmail.com, Anthony.campanella9@gmail.com,
  derek@morphdev.co, Charles@espireads.com, charles@kvrma.co
  Bcc: Steven Forkosh <sforkosh@forkoshgroup.com>


    I am advised that there has been ongoing misuse of the proprietary property of Blu Market and the defamation of both Blu
    Market and Steven Forkosh

    This cannot go unaddressed. Unless we hear from you or your attorneys by close of business Thursday that the conduct
    will cease, retractions of the defamatory comments issue and all Blu Market property returned, we will be filing the
    attached complaint to commence an action for damages
    --

                     Richard L. Herzfeld
                     Richard L. Herzfeld, P.C.
                     112 Madison Avenue
                     8th Floor
                     New York, NY 10016
                     212-818-9019
                     www.herzfeldlaw.com


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